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                       UNITED STATES DISTRICT COURT

                      WESTERN DISTRICT OF LOUISIANA

                              LAFAYETTE DIVISION

UNITED STATES OF AMERICA               * CRIMINAL NO. 6:19-CR-00183-01
                                       *
VERSUS                                 * JUDGE SUMMERHAYS
                                       *
HOLDEN JAMES MATTHEWS                  * MAGISTRATE JUDGE WHITEHURST

                                 JOINT STATUS REPORT

      At the direction of the Court, a status conference was held on January 9, 2020.
The following appearances were made:

      1.    John Luke Walker representing the United States of America; and
      2.    Dustin C. Talbot representing the Defendant, Holden Matthews

      Trial is set for February 10, 2020.


THE FOLLOWING QUESTIONS WERE ADDRESSED:


1.    Will a hearing outside the presence of the jury be required on Rule 404(b)
      evidence either as to its relevance or as to its probative vs. prejudicial value?
      See US v. Beechum, 582 F.2d 898 (5th Cir. 1978) (en banc), cert denied, 440 U.S.
      920 and Huddleston v. U.S., 485 U.S. 681 (1988).

      No.

2.    Is there any issue involving voluntariness of statements under 18 U.S.C. §
      3501?

      No.

3.    Are there any admissibility questions requiring evidentiary presentation?

      Not at this time.

4.    Time required by each side to present its case in chief.

      Government: 8 days; Defense: 1 day.
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5.    The parties agreed to waive challenges to the foundation of the following
      documents:

      None at this time.

6.    Order of presentation by multiple defendants.

      Not applicable.

7.    Pending discovery problems.

      None at this time.

8.    Jencks Act material will be provided to defendant:

      Some Jencks Act material may have been disclosed to the defendant during the
      discovery process. Any additional Jencks Act material will be disclosed the
      Friday before trial.

9.    Other.

      Plea negotiations are currently ongoing.


Approved as to form and substance this 9th day of January, 2020.



                                      DAVID C. JOSEPH
                                      United States Attorney

s/ Dustin C. Talbot                     s/ John Luke Walker
__________________________________    _______________________________________
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